

People v Quist (2024 NY Slip Op 51393(U))



[*1]


People v Quist (Andrew)


2024 NY Slip Op 51393(U)


Decided on October 10, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 10, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570280/19

The People of the State of New York, Respondent, 
againstAndrew Quist, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Phyllis Chu, J.), rendered March 1, 2019, after a nonjury trial, convicting him of driving while impaired by alcohol, and imposing sentence.




Per Curiam.
Judgment of conviction (Phyllis Chu, J.), rendered March 1, 2019, affirmed. 
The verdict convicting defendant of operating a motor vehicle while impaired by alcohol (see Vehicle and Traffic Law § 1192[1]), was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the court's determinations concerning credibility. The arresting officer testified that defendant failed to maintain his lane of traffic multiple times while driving on the Henry Hudson Parkway, and that he exhibited visible signs of impairment, such as watery and bloodshot eyes, slurred speech and an odor of alcohol on his breath; and the IDTU video showed defendant refusing to take a breath test (see People v Cruz, 48 NY2d 419 [1979], appeal dismissed 446 US 901 [1980]).
The recent amendments to CPL §30.30(1)(e), which extended statutory speedy trial limitations to traffic infractions charged in the same accusatory instrument with certain other offenses, are not retroactive, and do not apply to criminal actions commenced prior to the January 1, 2020 effective date of the new legislation (see People v Flores, 81 Misc 3d 137[A], 2023 NY Slip Op 51414[U] [App Term, 1st Dept 2023], lv denied 41 NY3d 1018 [2024]).
We decline defendant's invitation to vacate his conviction in the interest of justice. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 10, 2024









